                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
                                               )
 v.                                            )       Case No. 1:07-CR-79
                                               )
 JAMES JAMAR EASTMAN                           )       COLLIER/CARTER
 aka Jeremy Eastman                            )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 29,

 2007. At the hearing, defendant James Jamar Eastman entered a plea of guilty to Count One,

 conspiracy to distribute cocaine base (“crack”), in violation of 21 U.S.C. §§ 846, 841(a)(1) and

 (b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

 understands the nature of the charge and penalties provided by law; and that the plea has a

 sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One, conspiracy to

 distribute cocaine base (“crack”), in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), that

 the Court adjudicate defendant guilty of the charges set forth in Count One of the Indictment, and

 that the written plea agreement be accepted at the time of sentencing. I further recommend that

 defendant remain in custody until sentencing in this matter. Acceptance of the plea, adjudication

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 of guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved

 for the district judge.

         The defendant’s sentencing date is scheduled for Thursday, February 21, 2007, at 9:00

 am.



 Dated: November 29, 2007                     s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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